

People v Salvador (2023 NY Slip Op 05372)





People v Salvador


2023 NY Slip Op 05372


Decided on October 24, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: October 24, 2023

Before: Manzanet-Daniels, J.P., Rodriguez, Pitt-Burke, Higgitt, Rosado, JJ. 


SCI No. 2236/17 Appeal No. 864 Case No. 2019-04906 

[*1]The People of the State of New York, Respondent,
vJose Salvador, Defendant-Appellant.


Twyla Carter, The Legal Aid Society, New York (Everett K. Hopkins of counsel), for appellant.



Judgment, Supreme Court, New York County (Kevin B. McGrath, J., at plea; Steven M. Statsinger, J., at sentencing), rendered July 26, 2019, convicting defendant of criminal possession of stolen property in the fifth degree, and sentencing him to a conditional discharge, unanimously modified, as a matter of discretion in the interest of justice, to the extent of vacating the surcharge and fees imposed on defendant at sentencing, and otherwise affirmed.
Based on our own interest of justice powers, we vacate the surcharge and fees
imposed on defendant at sentencing (see People v Chirinos, 190 AD3d 434, 435 [1st Dept 2021]). We note that the People do not oppose this relief.THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: October 24, 2023








